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            EXHIBIT 1
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From:             Fischer, Aron (x2363)
To:               Cutri, Elizabeth A.
Cc:               Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan; Sanford, Gregory B.; Andrea L. Martin
Subject:          Re: Janssen v. Celltrion et al.
Date:             Thursday, June 15, 2017 4:45:40 PM


Liz,
 
Greg and I have conflicts in mid-August (Greg has a two-week trial) and Greg is out of the
country the second half of September.  We’d suggest the below schedule but if you want more
time on the first brief and less on the second, that’s fine as well:
 
       Event                                            Date
       Defendants file motion to dismiss                July 7
       Janssen responds to motion to
                                                        August 2
       dismiss
       Defendants file reply brief                      August 25*
       Janssen files sur-reply brief                    September 8*
                                                        Propose October 9-11*
       Hearing

We'll agree to your proposal on Dow and Martinson, subject to some provisions that we'll lay
out in a joint report to be circulated within the next hour or two.  

Yours
Aron

On Jun 15, 2017, at 3:42 PM, Cutri, Elizabeth A. <elizabeth.cutri@kirkland.com> wrote:


        Aron and Andrew,
         
        Further to our discussion and emails from yesterday, below is a proposed schedule for
        briefing related to the motion to dismiss Janssen’s newly filed complaint.  This is on the
        assumption that the parties are able to resolve the motion to compel and do not
        require the Court to make rulings related to those issues.  If the parties do require the
        Court’s involvement with issues related to the motion to compel, a different schedule
        may be appropriate.
         
        Please let us know your responses to our emails from yesterday regarding the Dow
        declaration and Martinson transcript.  Please also let us know if you are preparing a
        proposed draft joint report for filing tomorrow.
         
        Regards,
        Liz
         
             Event                                     Date
             Defendants file motion to dismiss         July 7
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     Janssen responds to motion to dismiss              July 28
     Defendants file reply brief                        August 11*
     Janssen files sur-reply brief                      August 25*
     Hearing                                            Propose week of September 11*
 
*Assuming Janssen does not add new or different evidence into the record, beyond
what was relied upon in the motion to dismiss briefing in connection with actions 15-
10698 and 16-11117, in which case Defendants may ask the Court to adjust the briefing
schedule
 
 
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From: Cohen, Andrew (x2605) [mailto:acohen@pbwt.com]
Sent: Wednesday, June 14, 2017 7:09 PM
To: Cutri, Elizabeth A.
Cc: Fischer, Aron (x2363); Hales, Bryan S.; Kane, Ryan; Sanford, Gregory B.; Andrea L.
Martin
Subject: RE: Janssen v. Celltrion et al.
 
Yes Liz.  We plan to circulate a proposed stipulation in the near future.
 
-Andrew
 
From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
Sent: Wednesday, June 14, 2017 6:21 PM
To: Cohen, Andrew (x2605)
Cc: Fischer, Aron (x2363); Hales, Bryan S.; Kane, Ryan; Sanford, Gregory B.; Andrea L.
Martin
Subject: RE: Janssen v. Celltrion et al.
 
Andrew,
 
Thanks.
 
Will you be circulating a proposed stipulation of dismissal with respect to Case No. 16-
11117 and Janssen’s claim for infringement of the ’083 patent in Case No. 15-10698?
 
Regards,
Liz
 
 
Elizabeth Cutri
-----------------------------------------------------
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Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 4 of 37


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From: Cohen, Andrew (x2605) [mailto:acohen@pbwt.com]
Sent: Wednesday, June 14, 2017 4:44 PM
To: Cutri, Elizabeth A.
Cc: Fischer, Aron (x2363); Hales, Bryan S.; Kane, Ryan; Sanford, Gregory B.; Andrea L.
Martin
Subject: Re: Janssen v. Celltrion et al.
 
Thank you Liz. We will discuss and get back to you. 
 
-Andrew

Andrew D. Cohen
212-336-2605

On Jun 14, 2017, at 5:42 PM, Cutri, Elizabeth A. <elizabeth.cutri@kirkland.com> wrote:

        Andrew,
         
        Further to my email below, and in furtherance of our discussion regarding
        the waiver dispute, we identify the following passages of the deposition
        transcript of Ms. Martinson that we would propose Janssen not cite or
        rely upon:
                ·         182:13–24
                ·         189:20–190:2
         
        To be clear, by identifying these passages, Defendants do not make any
        concessions about any other portions of the transcript.  Many of Ms.
        Martinson’s statements suffer from the problem that she lacks firsthand
        knowledge and/or was advancing attorney argument rather than fact.  If
        the parties reach an agreement regarding the motion to compel that
        involves Janssen agreeing not to rely upon certain portions of the
        Martinson transcript, Defendants reserve the right to challenge or object
        to any other portion of the transcript as purported “evidence” supporting
        Janssen’s standing arguments.
         
        The same applies for the Dow declaration.  Defendants make no
        concessions about Mr. Dow’s declaration and reserve the right to
        challenge any portion of it as, for example, inadmissible, unreliable,
        and/or contrary to the law regarding use of extrinsic evidence in contract
        interpretation.
         
        Regards,
Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 5 of 37


    Liz
     
     
    Elizabeth Cutri
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    elizabeth.cutri@kirkland.com
     
    From: Cutri, Elizabeth A.
    Sent: Wednesday, June 14, 2017 3:27 PM
    To: 'Cohen, Andrew (x2605)'
    Cc: Fischer, Aron (x2363); Hales, Bryan S.; Kane, Ryan; Sanford, Gregory B.;
    Andrea L. Martin
    Subject: RE: Janssen v. Celltrion et al.
     
    Andrew,
     
    Attached for purposes of discussion is a copy of the Dow declaration
    reflecting an initial proposal for what we think Janssen should strike
    (shown in yellow highlighting).  We will also send a highlighted copy of
    Ms. Martinson’s deposition transcript, as well as a proposed schedule for
    briefing for the motion to dismiss the new complaint.
     
    Regards,
    Liz 
     
     
    Elizabeth Cutri
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    From: Cohen, Andrew (x2605) [mailto:acohen@pbwt.com]
    Sent: Wednesday, June 14, 2017 3:17 PM
    To: Cutri, Elizabeth A.
    Cc: Fischer, Aron (x2363); Hales, Bryan S.; Kane, Ryan; Sanford, Gregory B.;
    Andrea L. Martin
    Subject: Re: Janssen v. Celltrion et al.
     
    Liz,
     

    As discussed on our call this morning, we understand that you will be
    sending us an email today identifying specific portions of the Dow
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    Declaration and Ms. Martinson's testimony for us to consider striking
    and/or agreeing not to rely on in connection with your anticipated motion
    to dismiss the 2017 action. We look forward to receiving that soon so that
    we have time to fully consider it and discuss further with you in advance
    of the joint report due to be filed with the court Friday afternoon. 
     

    Best regards,
     

    Andrew
     

    Andrew D. Cohen
    212-336-2605

    On Jun 13, 2017, at 11:30 PM, Cutri, Elizabeth A.
    <elizabeth.cutri@kirkland.com> wrote:

          Aron,
           
          Wednesday morning at 8:30 am Central is fine, if that still
          works for you.
           
          Regards,
          Liz
           
           
          Elizabeth Cutri
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          elizabeth.cutri@kirkland.com
           
          From: Fischer, Aron (x2363) [mailto:afischer@pbwt.com]
          Sent: Tuesday, June 13, 2017 2:14 PM
          To: Cutri, Elizabeth A.; Hales, Bryan S.
          Cc: Cohen, Andrew (x2605); Kane, Ryan; Sanford, Gregory B.;
          Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Liz,
           
          Yes, let’s plan to discuss the privilege log and what
          statements in Mr. Dow’s declaration you consider to be
          a waiver.  It’s likely that any such statements can be
          removed or revised since, as Mr. Dow testified, his
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         declaration is about Janssen’s patent policies and
         practices and not about a real-time legal opinion as to
         the language of the employment agreements.
          
         I will be in Boulder, CO taking a deposition tomorrow
         but can talk at 7:30 am MT (8:30 central, 9:30 ET).  I
         could also plan to talk at 5pm MT/6pm Central or later,
         but there’s some chance I’d have to postpone if the
         deposition goes longer than expected.
          
         Yours
         Aron
          
          
          
         From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
         Sent: Tuesday, June 13, 2017 12:46 PM
         To: Fischer, Aron (x2363); Hales, Bryan S.
         Cc: Cohen, Andrew (x2605); Kane, Ryan; Sanford, Gregory B.;
         Andrea L. Martin
         Subject: RE: Janssen v. Celltrion et al.
          
         Aron,
          
         We are not available today, but we are available Wednesday,
         morning or afternoon.
          
         We agree that the appropriate remedy for the findings of
         improper assertion of privilege is provision of the
         information found not to be privileged.  Where it seemed we
         had a disagreement was with respect to timing—we do not
         think it makes sense, as we explained, to schedule another
         deposition of Mr. Dow right now, before the parties work
         out various other things such as a schedule for Defendants’
         motion to dismiss and Defendants’ motion seeking a finding
         of waiver.
          
         As for a remedy for a possible finding of waiver, our position
         as to the appropriate relief is as stated in the motion to
         compel.  Since we now have Janssen’s privilege log, we may
         be able to identify particular withheld documents as relevant
         to particular issues.  But we do not at this time believe there
         is a need for a new motion or a new or different request for
         relief.  However, with respect to the motion, it appears from
         Greg Diskant’s representations during the last call with the
         Court and your email from last week that Janssen is willing to
         strike or not rely upon at least certain portions of the
         declaration of Mr. Dow.  In view of that, we think it makes
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         sense to determine whether an agreement by Janssen that it
         will not rely upon certain purported evidence can potentially
         resolve the dispute related to waiver, and we are willing to
         explore that possibility before we propose that the Court
         proceed to rule on the motion.  Perhaps it makes sense to
         discuss this when we speak on the phone next.
          
         Regards,
         Liz
          
          
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         elizabeth.cutri@kirkland.com
          
         From: Fischer, Aron (x2363) [mailto:afischer@pbwt.com]
         Sent: Monday, June 12, 2017 4:22 PM
         To: Cutri, Elizabeth A.; Hales, Bryan S.
         Cc: Cohen, Andrew (x2605); Kane, Ryan; Sanford, Gregory B.;
         Andrea L. Martin
         Subject: RE: Janssen v. Celltrion et al.
          
         Liz and Bryan,
          
         Do you have time tomorrow to follow up on our
         discussion of Friday?
          
         As you see from today’s order, we are supposed to
         state our respective positions on the remedies for the
         assertions of privilege that were found at the June 1
         conference to be improper.  Our position is that we will
         provide (and in the case of documents, have provided)
         the information found not to be privileged.  Your
         position, as we understand it, is that it is premature to
         discuss a remedy with respect to Mr. Dow’s deposition
         testimony until the issue of waiver is decided.  We
         aren’t clear, however, what specific discovery (other
         than the documents on our privilege log) you think
         you’d be entitled to if there were a waiver.   If
         Defendants seek additional rulings from the Court on
         discovery, we’d like to make sure that the precise relief
         you are seeking has been identified in advance in
         written form and presented in a properly noticed
         motion.  In particular, if you seek any discovery beyond
         the orders requested in your motion to compel (Dkt.
         550), we think there should be a new motion.
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         Look forward to discussing this with you.  I am
         available tomorrow from 12 to 5.
          
         Yours
         Aron
          
          
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         f: 212-336-1240
         afischer@pbwt.com
          
          
          
          
          
          
         From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
         Sent: Thursday, June 08, 2017 10:43 PM
         To: Fischer, Aron (x2363); Hales, Bryan S.
         Cc: Cohen, Andrew (x2605); Kane, Ryan; Sanford, Gregory B.;
         Andrea L. Martin
         Subject: RE: Janssen v. Celltrion et al.
          
         Aron,
          
         Defendants’ argument regarding waiver does not arise
         solely, or even primarily, out of the deposition of Mr. Dow. 
         The genesis of the waiver issue was the declaration Janssen
         put forth from Mr. Dow and held out as evidence.  You know
         this, not only because we have explained it numerous times,
         but also because we first raised the waiver issue shortly after
         we received Mr. Dow’s declaration.  Further, the Court did
         not state that it considered the motion to compel to be
         “based on specific ‘questions that Mr. Dow didn’t answer,’”
         as you state below.  In the rest of the sentence from which
         you quote, the Court also acknowledged, correctly, that the
         motion to compel relates to “certain documents that were
         provided [to the judge] for in camera review.”  Tr. at 21:8-
         11.  And as Bryan explained to Judge Wolf, the “wall of
         privilege instructions” put up at the Dow deposition created
         a “roadblock to other areas we would want to explore” on
         the deposition topics.  Tr. at 33:18-23.  Moreover, the Court
         stated that it “ha[s]n’t done th[e] sword-and-shield analysis”
         yet.  Tr. at 42:20-21.
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          Thus, it is not correct, as you state below, that “[i]n light of
          Judge Wolf’s ruling that ‘the disputed information in Mr.
          Dow’s deposition, with maybe an exception or two, is not
          privileged’ (Tr. 28:16-17), there doesn’t seem to [be]
          anything further to resolve with respect to Mr. Dow once
          [Janssen] provide[s] the disputed information discussed at
          the hearing.”  Nor does it resolve the dispute for you to say
          that Mr. Dow “knows nothing” about the documents on
          Janssen’s log that have not been produced.  Defendants’
          argument in the motion to dismiss was that a subject matter
          waiver has occurred, and all withheld responsive documents
          should be produced, whether privileged or not—a request
          that is not tied to what Mr. Dow, specifically, knows or does
          not know.  Further, a Rule 30(b)(6) witness (as Mr. Dow was)
          is required to be educated about the subject matters of
          testimony, regardless of whether he has personal knowledge
          about them.  If a waiver were to be found, Defendants
          would be entitled to testimony about information within the
          scope of the subject matter of the waiver, privileged or not,
          and whether Mr. Dow has personal knowledge about it or
          not.
           
          We also do not agree that striking Paragraph 7 of Mr. Dow’s
          declaration necessarily resolves the waiver dispute.  Mr.
          Dow testified that the declaration reflects his attorney
          analysis, as we explained in the motion to compel, and other
          portions of the declaration make statements that are not
          factual in nature, but rather offer explanation of what the
          inventors’ obligations were under their employment
          agreements, or how other documents and agreements
          purportedly support or reflect Janssen’s alleged
          “understanding” and “intent.”
           
          In terms of a good time to begin the meet-and-confer
          discussions ordered by the Court, we can be available
          tomorrow (Friday) afternoon at 2:00 or 3:00 pm Central.
           
          Regards,
          Liz
           
           
          Elizabeth Cutri
          -----------------------------------------------------
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Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 11 of 37


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          elizabeth.cutri@kirkland.com
           
          From: Fischer, Aron (x2363) [mailto:afischer@pbwt.com]
          Sent: Wednesday, June 07, 2017 2:32 PM
          To: Hales, Bryan S.; Cutri, Elizabeth A.
          Cc: Cohen, Andrew (x2605); Kane, Ryan; Sanford, Gregory B.;
          Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Bryan,
           
          As we understand it, the sword/shield waiver issue is
          irrelevant to our dispute over Mr. Dow’s deposition,
          because Judge Wolf concluded that every disputed
          question except one was not privileged in the first place
          (and that question was covered by the attorney work
          product privilege, which you have not asserted has
          been waived).  Judge Wolf stated that he considered
          your motion as to Mr. Dow to be based on specific
          “questions that Mr. Dow didn't answer” and you
          confirmed that was correct (Tr. 21:9-12).  In light of
          Judge Wolf’s ruling that “the disputed information in Mr.
          Dow's deposition, with maybe an exception or two, is
          not privileged” (Tr. 28:16-17), there doesn’t seem to
          anything further to resolve with respect to Mr. Dow
          once we provide the disputed information discussed at
          the hearing.  Even if Judge Wolf were to conclude in
          the future that privilege has been waived as to the
          documents on our privilege log, as is evident from the
          log itself Mr. Dow knows nothing about those
          documents and cannot testify about them. 
           
          Meanwhile, as Greg said at the conference, we intend
          to strike existing paragraph 7 from Mr. Dow’s
          declaration if Defendants file a new motion to dismiss. 
          As Mr. Dow explained at his deposition, that paragraph
          was never meant to indicate that Mr. Dow or his
          colleagues had formed a legal opinion regarding the
          disputed language of the employment agreements. 
          Rather, it states that Janssen’s longstanding practices
          with respect to patent ownership reflect an
          understanding and intent that inventions by Janssen
          employees are assigned to Janssen.  Those practices
          are detailed in the remainder of Mr. Dow’s declaration
          and have not been disputed by Defendants.  We
          believe that removing the paragraph should resolve the
          waiver issue without the need to go back to Judge
          Wolf. 
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          As you note, Judge Wolf instructed us to meet and
          confer about a number of issues, including Defendants’
          position on our request to dismiss the existing actions
          without prejudice, whether Defendants intend to move
          to dismiss the new complaint, and scheduling for
          further proceedings in the new action, including
          damages discovery and trial.  Please let us know when
          a good time would be to begin these discussions.  I
          suggest we give ourselves at least a week so we can
          consult with our clients on the various issues.
           
          Yours
          Aron
           
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          f: 212-336-1240
          afischer@pbwt.com
           
           
           
           
           
           
           
           
          From: Hales, Bryan S. [mailto:bhales@kirkland.com]
          Sent: Monday, June 05, 2017 5:20 PM
          To: Fischer, Aron (x2363); Cutri, Elizabeth A.
          Cc: Cohen, Andrew (x2605); Kane, Ryan; Sanford, Gregory B.;
          Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Aron,
           
          When I started to raise the waiver issue on the call, Judge
          Wolf indicated he had not considered the sword/shield issue
          in depth.  Judge Wolf had to end the call before we were
          able to go through that.  Thus, we do not believe your
          interpretation of Thursday’s hearing is correct.  Nor should
          you take the fact that we believe these issues should be
          resolved before continuing with Mr. Dow as an indication
          that we don’t believe it necessary.  That decision will follow
          the resolution of these issues, and I think Judge Wolf also
          indicated that we should be meeting and conferring
          regarding the remedy appropriate for Janssen’s improper
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          instructions and withholding of non-privileged documents,
          during which we should also discuss the withheld documents
          that we believe are in the scope of the subject matter
          waiver, to see what, if anything, we can resolve.       
           
          Regards,
          Bryan
           
           
          Bryan S. Hales, P.C.
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          bryan.hales@kirkland.com


           
          From: Fischer, Aron (x2363) [mailto:afischer@pbwt.com]
          Sent: Friday, June 2, 2017 4:25 PM
          To: Cutri, Elizabeth A. <elizabeth.cutri@kirkland.com>
          Cc: Cohen, Andrew (x2605) <acohen@pbwt.com>; Hales,
          Bryan S. <bhales@kirkland.com>; Kane, Ryan
          <ryan.kane@kirkland.com>; Sanford, Gregory B.
          <gregory.sanford@kirkland.com>; Andrea L. Martin
          <amartin@burnslev.com>
          Subject: RE: Janssen v. Celltrion et al.
           
          Liz,
           
          Our understanding is that Judge Wolf has ruled on
          every specific discovery request that was before him. 
          That said, you obviously don’t have to proceed with the
          deposition if you don’t consider it necessary; in fact, we
          agree that it’s unnecessary.  We’ll look forward to
          discussing next steps after your clients have weighed
          in.   
           
          The documents that Judge Wolf determined not to be
          privileged were just produced, as well as the Horwitz
          email.
           
          Yours
          Aron
           
          Aron Fischer
          Patterson Belknap Webb & Tyler LLP
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Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 14 of 37


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          From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
          Sent: Friday, June 02, 2017 1:44 PM
          To: Fischer, Aron (x2363)
          Cc: Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan;
          Sanford, Gregory B.; Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Aron,
           
          We think scheduling a time to redepose Mr. Dow right now
          is premature, for a few reasons.  Judge Wolf has suspended,
          at least for the time being, remaining proceedings on
          Defendants’ motion to dismiss (for example, by virtue of
          Janssen being told it does not need to file its sur-reply).  In
          addition, the ‘083 portion of the 2015 complaint and the
          2016 complaint may be dismissed soon.  Also, I understand
          Judge Wolf ordered Janssen to produce certain documents
          from its privilege log.  When can we expect to receive
          those?  We have searched Janssen’s production and have
          not been able to locate email correspondence between
          Andrew Cohen and Joseph Horwitz, which is one of the
          items I understand the Court determined was not
          privileged.  If that correspondence has been produced,
          please identify the Bates number(s).  If it has not been
          produced, please produce it along with the other documents
          on the log that the Court ordered Janssen to produce.  Also,
          the judge did not decide the waiver aspect of the privilege
          issues.  These are things that need to be worked out
          between the parties, or with the judge’s help if necessary,
          before it makes sense to discuss additional deposition time
          with Mr. Dow.
           
          We are discussing Janssen’s new complaint with our clients,
          and then the parties need to meet and confer to discuss how
          things will go forward, which can include a discussion of
          further time with Mr. Dow, and when that would be
          appropriate.
           
          Regards,
          Liz
Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 15 of 37


           
           
          Elizabeth Cutri
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          elizabeth.cutri@kirkland.com
           
          From: Fischer, Aron (x2363) [mailto:afischer@pbwt.com]
          Sent: Thursday, June 01, 2017 2:51 PM
          To: Cutri, Elizabeth A.
          Cc: Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan;
          Sanford, Gregory B.; Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Liz,
           
          As you probably heard, Judge Wolf ruled today that
          certain questions asked at Ken Dow’s deposition that
          we instructed Mr. Dow not to answer were not covered
          by the attorney-client or attorney work product
          privilege.  As previously offered, we will make Mr. Dow
          available to answer these questions at the earliest
          mutually convenient date.  Please let us know when
          you are available.   
           
          Yours
          Aron
           
          Aron Fischer
          Patterson Belknap Webb & Tyler LLP
          1133 Avenue of the Americas
          New York, NY 10036-6710
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          f: 212-336-1240
          afischer@pbwt.com
           
           
           
           
           
          From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
          Sent: Tuesday, May 30, 2017 11:43 AM
          To: Fischer, Aron (x2363)
          Cc: Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan;
          Sanford, Gregory B.; Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Aron,
           
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          If Janssen agrees there has been a subject matter waiver and
          agrees to produce all requested but withheld documents,
          then we can discuss taking appropriate steps to let the Court
          know.  Otherwise Defendants’ position remains the same as
          we have explained multiple times in the correspondence and
          in the motion, and Defendants continue to believe the
          motion requires resolution by the Court.
           
          Please attach this correspondence to Janssen’s opposition to
          the motion to compel.
           
          Regards,
          Liz
           
          Elizabeth Cutri
          -----------------------------------------------------
          KIRKLAND & ELLIS LLP
          300 North LaSalle, Chicago, IL 60654
          T +1 312 862 7160
          F +1 312 862 2200
          -----------------------------------------------------
          elizabeth.cutri@kirkland.com
           
          From: Fischer, Aron (x2363) [mailto:afischer@pbwt.com]
          Sent: Friday, May 26, 2017 6:56 PM
          To: Cutri, Elizabeth A.
          Cc: Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan;
          Sanford, Gregory B.; Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Liz,
           
          If you’re serious about trying to resolve or narrow the
          dispute, we should submit a joint letter to the Court
          saying so, so as not to waste the Court’s or Janssen’s
          time addressing the motion to compel. 
           
          I’m in the office right now if you want to give me a call.
           
          Yours
          Aron
           
           
          Aron Fischer
          Patterson Belknap Webb & Tyler LLP
          1133 Avenue of the Americas
          New York, NY 10036-6710
          t: 212-336-2363
          f: 212-336-1240
          afischer@pbwt.com
           
Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 17 of 37


           
           
          From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
          Sent: Friday, May 26, 2017 7:50 PM
          To: Fischer, Aron (x2363)
          Cc: Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan;
          Sanford, Gregory B.; Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Aron,
           
          We understand your response below to mean that Janssen is
          reneging on its offer to provide a privilege log.  Janssen has
          been aware of Defendants’ position with regard to waiver
          since mid-March.  See my 3/13/17 email (“Having put at
          issue Janssen’s alleged beliefs and intent regarding the
          employment agreements through the testimony of its
          attorney Mr. Dow, Defendants are now entitled to all
          materials, privileged or not, on the same subject matter.”). 
          Yet, the first time Janssen agreed to provide a privilege log
          was on the eve of Defendants filing the motion to compel. 
          Given that Janssen believes a “review of the privilege log
          would indeed have narrowed and likely eliminated the
          dispute,” as you state below, and that Defendants are willing
          to give due consideration to Janssen’s privilege log, it
          appears that Janssen’s recent offer was simply an attempt to
          avoid having the Court hear the waiver issue in a timely
          fashion.  If Janssen truly believes that Defendants’ concerns
          would be satisfied by reviewing the privilege log, Janssen
          should have provided it long ago, or at the very least should
          not be withdrawing its offer now. 
           
          As we said before, Defendants remain willing to consider
          Janssen’s privilege log and give due consideration to
          whether it narrows or resolves the current dispute.
           
          Please attach this correspondence to Janssen’s opposition to
          the motion to compel.
           
          Regards,
          Liz
           
           
          Elizabeth Cutri
          -----------------------------------------------------
          KIRKLAND & ELLIS LLP
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Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 18 of 37


          F +1 312 862 2200
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          elizabeth.cutri@kirkland.com
           
          From: Fischer, Aron (x2363) [mailto:afischer@pbwt.com]
          Sent: Thursday, May 25, 2017 9:54 AM
          To: Cutri, Elizabeth A.
          Cc: Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan;
          Sanford, Gregory B.; Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Liz,
           
          Thank you for your email.  I am confident that your
          review of the privilege log would indeed have narrowed
          and likely eliminated the dispute, as would a further
          telephone deposition of Mr. Dow.  Nevertheless,
          despite our offers, you filed a premature motion to
          compel.   We will not engage in further attempts to
          resolve or narrow the dispute while the motion is
          pending.  Unless you withdraw the motion, our next
          communication on these issues will be in our
          opposition papers.   
           
          Yours
          Aron
           
          Aron Fischer
          Patterson Belknap Webb & Tyler LLP
          1133 Avenue of the Americas
          New York, NY 10036-6710
          t: 212-336-2363
          f: 212-336-1240
          afischer@pbwt.com
           
           
           
          From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
          Sent: Thursday, May 25, 2017 10:39 AM
          To: Fischer, Aron (x2363)
          Cc: Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan;
          Sanford, Gregory B.; Andrea L. Martin
          Subject: RE: Janssen v. Celltrion et al.
           
          Aron,
           
          We do not understand how you could be “at a complete loss
          as [to] what [Defendants] are seeking to compel.”   We have
          stated numerous times that Defendants contend there has
          been a subject matter waiver and that they are entitled to
          documents Janssen is withholding.  This is reflected in the
          correspondence and in our motion, which you now have. 
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          Janssen continues to maintain there has been no subject
          matter waiver.  Janssen’s proposal that we depose Mr. Dow
          again, previewing questions for you so that you can decide
          what you “agree” we may ask, all while Janssen continues to
          maintain that there has been no waiver—and thus has not
          produced the underlying documents and may continue to
          assert privilege in response to questions—does not resolve
          the parties’ dispute. 
           
          We tried to seek resolution of the waiver issue in March, but
          the Court deferred ruling on it based on Janssen’s
          representations.  Those representations turned out to be
          inaccurate, or at least not fully informed.  Further delay in
          pursuing the waiver issue would have put us at risk of not
          being able to get timely resolution of it under the Court’s
          schedule for the motion to dismiss.
           
          We look forward to receiving Janssen’s privilege log by May
          26 and will give it due consideration to see if it narrows the
          dispute.
           
          Regards,
          Liz
           
           
          Elizabeth Cutri
          -----------------------------------------------------
          KIRKLAND & ELLIS LLP
          300 North LaSalle, Chicago, IL 60654
          T +1 312 862 7160
          F +1 312 862 2200
          -----------------------------------------------------
          elizabeth.cutri@kirkland.com
           
          From: Fischer, Aron (x2363) [mailto:afischer@pbwt.com]
          Sent: Monday, May 22, 2017 2:38 PM
          To: Cutri, Elizabeth A.
          Cc: Cohen, Andrew (x2605); Hales, Bryan S.; Kane, Ryan;
          Sanford, Gregory B.; Andrea L. Martin
          Subject: Re: Janssen v. Celltrion et al.
           
          Liz,
           
          The offer to ask further questions of Dow was first made on
          the record at his deposition.  Furthermore, I am at a
          complete loss as at what you are seeking to compel if you
          don't want answers to questions from Mr. Dow.  A motion to
          compel seeks information that has been withheld.  There is
Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 20 of 37


          no basis for the motion when you have been repeatedly put
          on notice that we are willing to provide additional
          information.  
           
          I am around to discuss now at 347-731-5830.  Please include
          this email with your motion.
           
          Yours
          Aron
           
           
           
           


          On May 22, 2017, at 3:27 PM, Cutri, Elizabeth A.
          <elizabeth.cutri@kirkland.com> wrote:

                Aron,
                 
                We disagree with Janssen’s position that
                Defendants have not met their meet and
                confer obligations.  Your email makes clear that
                the parties are at an impasse.  As I have
                mentioned in previous emails, Defendants
                contend there has been a subject matter
                waiver and believe they are entitled to
                documents Janssen is withholding.  And we
                have identified the categories of withheld
                documents we believe are within the scope of
                the waiver.  Janssen has not agreed there has
                been a subject matter waiver and has not
                agreed to produce the withheld documents,
                and your most recent email below does not
                indicate otherwise.  Rather, you continue to
                state that Janssen believes that it has not
                waived privilege and does not intend to do so. 
                And while we are, as we have said, happy to
                consider the privilege log you just recently
                offered and determine if it narrows our
                dispute, we do not see how this could resolve
                the question of whether a subject matter
                waiver has occurred. 
                 
                We continue to believe that your offer of a “do-
                over” deposition of Mr. Dow—made for the
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               first time just before our motion to dismiss
               reply brief is due, and only after we informed
               you we intended to bring this issue to the
               Court’s attention—does not narrow nor resolve
               Defendants’ concerns.  As we explained, a new
               deposition at this point does not make sense
               given that Janssen maintains its position that
               there has been no subject matter waiver.  It
               also does not make sense in view of what we
               understand to be a proposal that we vet
               questions with you in advance of the
               deposition to see if you “agree” we may ask
               them of Mr. Dow. 
                
               Given Defendants’ position regarding waiver,
               which Janssen does dispute, we believe the
               parties have met and conferred.  We note as
               well that you did not take us up on our offer to
               discuss anything over the phone.  In view of
               this and the time constraints imposed by the
               underlying motion to dismiss, Defendants plan
               to proceed with filing the motion to compel. 
               We will attach a copy of this email thread.
                
               Regards,
               Liz
                
                
               Elizabeth Cutri
               -----------------------------------------------------
               KIRKLAND & ELLIS LLP
               300 North LaSalle, Chicago, IL 60654
               T +1 312 862 7160
               F +1 312 862 2200
               -----------------------------------------------------
               elizabeth.cutri@kirkland.com
                
               From: Fischer, Aron (x2363)
               [mailto:afischer@pbwt.com]
               Sent: Monday, May 22, 2017 7:58 AM
               To: Cutri, Elizabeth A.
               Cc: Cohen, Andrew (x2605); Hales, Bryan S.;
               Kane, Ryan; Sanford, Gregory B.; Andrea L.
               Martin
               Subject: RE: Janssen v. Celltrion et al.
                
               Liz,
                
               We disagree that you have met your meet
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               and confer pre-motion obligations under
               the Federal Rules.  For some reason, you
               seem to be intent on moving to compel
               without identifying the specific documents
               or questions as to which you believe
               privilege is being improperly asserted, and
               while refusing to accept our outstanding
               offers to provide further information and to
               work with you to clarify these issues.
                Although you mention timing, there is no
               reason you could not have brought this
               motion weeks ago and your delay is no
               excuse for bringing a motion before we
               have reached an impasse.  Another vague
               motion that fails to identify what privileged
               information is actually at issue will not
               expedite anything and will create
               unnecessary work for Janssen and the
               Court. 
                
               I reiterate that in order to resolve this
               dispute (1) we are willing to provide a
               privilege log (despite the parties'
               agreement that a privilege log was not
               required) and (2) we remain willing
               reconsider our assertion of privilege as to
               certain questions asked at Mr. Dow's
               declaration (as I stated on the record at the
               deposition), if you identify the specific
               questions that are at issue.  Once again,
               we did not assert privilege as to anything
               relied on in Mr. Dow's declaration.  If you
               interpret his transcript as doing so, then
               there is a misunderstanding that can be
               resolved without motion practice. 
                
               The only specific questions you have
               identified in your email are questions about
               Mr. Dow’s declaration: whether he drafted
               or was involved with the preparation of the
               declaration, when he was contacted about
               providing a declaration, whether he relied
               on any information given to him by
               Patterson Belknap in forming the
               statements in the declaration, whether
               outside counsel provided Mr. Dow with
               exhibits to his declaration, and whether Mr.
               Dow is aware of anyone else performing
               an analysis of the patent assignment-
               related provisions of the employment
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               agreements attached to his declaration. 
               Without waiving any privilege, we will
               permit Mr. Dow to answer those questions,
               if you wish to ask them (and if you actually
               think they are relevant to any issue in this
               case).  If there are other questions you
               wish to ask Mr. Dow, please let us know.
                
               If you do file your motion tomorrow, please
               include this email as an exhibit. 
                
               Yours
               Aron
                
               Aron Fischer
               Patterson Belknap Webb & Tyler LLP
               1133 Avenue of the Americas
               New York, NY 10036-6710
               t: 212-336-2363
               f: 212-336-1240
               afischer@pbwt.com
                
                
                
                
                
               From: Cutri, Elizabeth A.
               [mailto:elizabeth.cutri@kirkland.com]
               Sent: Saturday, May 20, 2017 9:52 PM
               To: Fischer, Aron (x2363)
               Cc: Cohen, Andrew (x2605); Hales, Bryan S.;
               Kane, Ryan; Sanford, Gregory B.; Andrea L.
               Martin
               Subject: RE: Janssen v. Celltrion et al.
                
               Aron,
                
               Thanks for your response.  However,
               Defendants do not believe that Janssen’s
               offers can resolve the parties’ dispute.
                
               The last time we raised the waiver
               arguments, you came to us hours before our
               joint filing, trying to convince us that there
               was not yet a dispute for the Court to
               resolve.  We expressed skepticism that
               Janssen would not assert privilege over the
               types of documents and information
               Defendants sought, but you assured us and
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               the Court that there would not be a waiver
               issue to resolve.  The Court relied on your
               representations, deferred ruling on the
               waiver issues, and explained that after
               Defendants take their discovery there will be
               a more “concrete basis to decide whether
               there’s been a waiver as a result of the Dow
               declaration…”  3/29/17 Tr. at 21‒22.  The
               Court noted that it would want to know the
               “question…to which attorney-client privilege
               is asserted or the document request to
               which it’s asserted, to make a properly
               informed decision.”  Id. at 28.
                
               The events the Court believed were
               necessary to inform the waiver analysis have
               come to pass.  Janssen asserted privilege in
               response to all of the parties’ agreed-upon
               discovery requests, and in response to a
               host of questions at Mr. Dow’s deposition as
               Defendants tried to understand how Mr.
               Dow arrived at his conclusions, who he
               spoke to, what information he was given,
               etc.  Janssen did not make these choices
               blindly.  It knew heading into discovery that
               Defendants had raised a waiver issue.  And it
               knew the Court’s view―prompted by
               Janssen’s own arguments―that the waiver
               issues would be impacted by the
               “question[s]…to which attorney-client
               privilege is asserted or the document
               request to which it’s asserted.”
                
               Now the waiver argument is more
               “concrete” and we have told you we intend
               to re-raise it, and yet Janssen is still trying to
               avoid having the issue brought to the Court. 
               But Janssen cannot reasonably expect its
               response below to change the
               circumstances that require the Court’s
               involvement.  First, Janssen cannot feign
Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 25 of 37


               ignorance about “what [the dispute] is.”  We
               explained long ago (and again in our email
               from Friday) Defendants’ position that
               Janssen’s reliance on Mr. Dow’s declaration
               effected a waiver of privilege regarding
               Janssen’s intent and understanding with
               respect to the agreements at issue.  Second,
               telling us yet again that Mr. Dow does not
               have privileged documents does not resolve
               the dispute, because the scope of the waiver
               is not limited to Mr. Dow’s documents―it is
               a subject matter waiver.  Moreover, Mr.
               Dow’s lack of privileged documents actually
               highlights the problem that Janssen seems
               to have purposely chosen an attorney who
               did not have prior involvement with the
               subject agreements and put forth his
               analysis and statements as “authoritative[]”
               on behalf of Janssen.
                
               Also, your “offer” at the end of Mr. Dow’s
               deposition to have me re-raise, one by one,
               every problematic privilege objection you
               made over the course of a seven-and-a-half-
               hour day so that you could decide whether
               you wanted to reconsider them, with the
               witness waiting to go home and the
               transcript not in front of me, was, as I
               explained on the record, entirely
               unreasonable.  Notably, we asked if you
               were withdrawing the privilege objections
               made during Mr. Dow’s deposition and you
               told us, “Absolutely not.”  Dow Tr. at 292. 
               Equally unworkable is Janssen’s new offer to
               have us depose Mr. Dow again, on
               “questions [you] agree he may answer,”
               particularly in view of the fact that you “will
               continue to assert privilege over the content
               of attorney-client communications and work
               product,” as you state below.  It is Janssen’s
               burden to establish that it has properly
Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 26 of 37


               invoked privilege.  To the extent another
               deposition would be useful, it would be after
               a finding of waiver.
                
               Your new offer to provide a privilege log also
               cannot resolve the dispute.  Janssen did not
               agree to provide a log when we first asked
               for one in March, declined to provide the
               type of information that goes on a log (e.g.,
               identities of parties to communications)
               when we tried to assess claims of privilege
               during Mr. Dow’s deposition, and turned
               down the renewed request for a privilege
               log we made on May 4.  Only now, with
               Janssen motivated to keep Defendants from
               getting a timely resolution of the waiver
               issue, has Janssen agreed to provide a log. 
               To be clear, we are happy to have Janssen
               provide a log and are willing to consider in
               good faith whether it can help narrow any
               aspects of the dispute before the Court
               passes on them.  However, unless Janssen
               agrees there has been a subject matter
               waiver―and we understand Janssen does
               not agree―we believe the parties are at an
               impasse and we must seek the Court’s
               assistance.  And we must do so promptly in
               order to leave enough time for a ruling on
               the waiver issues to be useful in resolving
               the standing dispute.
                
               Finally, we do not agree with your statement
               that you “did not…assert privilege as to any
               analysis or opinions by Ken Dow that are
               reflected in his declaration.”  Janssen
               refused to let Mr. Dow answer questions
               about his declaration, such as whether he
               drafted or was involved with the preparation
               of the declaration, when he was contacted
               about providing a declaration, whether he
               relied on any information given to him by
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               Patterson Belknap in forming the
               statements in the declaration, whether
               outside counsel provided Mr. Dow with
               exhibits to his declaration, and whether Mr.
               Dow is aware of anyone else performing an
               analysis of the patent assignment-related
               provisions of the employment agreements
               attached to his declaration.  Dow. Tr. at,
               e.g., 95:7–15, 100:4–17, 145:5–11, 206:24–
               207:15, 211:15–212:15.
                
               We believe this correspondence meets our
               obligations to meet and confer, but if you
               wish, we are available to speak further
               between now and mid-day Monday.  We
               plan to file our motion by the close of
               business on Monday.
                
               Regards,
               Liz
                
                
               Elizabeth Cutri
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               300 North LaSalle, Chicago, IL 60654
               T +1 312 862 7160
               F +1 312 862 2200
               -----------------------------------------------------
               elizabeth.cutri@kirkland.com
                
               From: Fischer, Aron (x2363)
               [mailto:afischer@pbwt.com]
               Sent: Friday, May 19, 2017 2:47 PM
               To: Cutri, Elizabeth A.
               Cc: Cohen, Andrew (x2605); Hales, Bryan S.;
               Kane, Ryan; Sanford, Gregory B.
               Subject: RE: Janssen v. Celltrion et al.
                
               Dear Liz,
                
               The Court deferred ruling on privilege
               issues on the ground that Defendants had
               not identified a specific privilege dispute
               that could be adjudicated.  In your email,
               you still do not identify any specific
               documents or information as to which you
               believe privilege has been improperly
Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 28 of 37


               asserted or waived.  As such, we do not
               agree that there is a particularized dispute
               over privilege that is properly subject to a
               motion to compel.  We need to discuss
               specifics in order to identify whether a real
               dispute exists and if so, what it is.  In
               particular:
                
               1.  As to documents, I previously told you
               that we are not withholding any documents
               from Ken Dow within the relevant time
               period.  We therefore do not understand
               your position that Ken Dow's declaration
               waived privilege over any documents. 
               Nevertheless, notwithstanding our actively
               negotiated agreement that we did not need
               to provide a privilege log, and our
               compliance with that agreement, instead of
               having you burden the Court with an
               unnecessary motion to compel we will
               provide a privilege log by Friday, May 26. 
               If you assert that privilege has been waived
               as to any documents on the privilege log or
               that any of the documents are not
               privileged, we can discuss.
                
               2.  As to Ken Dow's testimony, as you
               recall I stated on the record at the end of
               his deposition that in light of the nature of
               your questions and the parties' prior
               agreements on privilege, I would give you
               the opportunity to ask again any questions
               as to which you believed privilege had
               been improperly asserted (Tr. 291).  You
               declined on the ground that you could not
               identify any specific questions to ask
               without reviewing the transcript.  You have
               now reviewed the transcript and state that
               you intend to move to compel.  Instead of
               burdening the Court with that motion, we
               renew our offer for you to identify particular
               questions the responses to which you
               believe are not privileged.  If necessary, we
               can make Mr. Dow available for a
               telephone deposition limited to any
               additional questions we agree he may
               answer.  One complicating factor at Mr.
               Dow's deposition was that many of your
               questions were objectionable separately
               from privilege, as I repeatedly noted on the
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               record; some of my privilege objections
               were protective given the ambiguities or
               incorrect or misleading premises of your
               questions.  To make our position clear, we
               did not, and will not, assert privilege as to
               any analysis or opinions by Ken Dow that
               are reflected in his declaration. 
               Furthermore, although we dispute their
               relevance, we also will not assert privilege
               over any analysis or opinions by Mr. Dow
               (at any time) related to the subject matter
               of his declaration or the employment
               agreements attached to his declaration --
               even analysis or opinions that were not
               relied on in his declaration.   To be clear,
               we do not intend to waive privilege by
               providing this information, and in particular,
               we will continue to assert privilege over the
               content of attorney-client communications
               and work product.
                
               Let me know if you would like to discuss.  I
               am in depositions Monday and Tuesday
               but can make time over the weekend if
               necessary.
                
               Yours
               Aron
                
                
               Aron Fischer
               Patterson Belknap Webb & Tyler LLP
               1133 Avenue of the Americas
               New York, NY 10036-6710
               t: 212-336-2363
               f: 212-336-1240
               afischer@pbwt.com
                
                
                
               From: Cutri, Elizabeth A.
               [mailto:elizabeth.cutri@kirkland.com]
               Sent: Friday, May 19, 2017 1:25 PM
               To: Fischer, Aron (x2363)
               Cc: Cohen, Andrew (x2605); Hales, Bryan S.;
               Kane, Ryan; Sanford, Gregory B.
               Subject: Janssen v. Celltrion et al.
                
               Aron,
                
               Defendants intend to file a motion to compel
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               documents and information responsive to our
               standing-related discovery requests that
               Janssen is withholding based on assertions of
               privilege.  When we raised this issue in March,
               Janssen represented it had “largely completed
               [its] search for responsive documents and ha[d]
               not located any privileged documents from
               August 2015 or earlier” and stated it “do[es]
               not intend to assert privilege at Mr. Dow’s
               deposition on this subject matter.”  Dkt. 539 at
               Ex. 2; 3/29/2017 Hr’g Tr. at 27:12–14.  The
               Court deferred ruling on the waiver issues until
               after Defendants took discovery at least in part
               based on these statements by Janssen.  We
               later learned, from Andrew Cohen’s April 26
               letter, that Janssen is withholding documents
               based on assertions of privilege in response to
               all three of the parties’ agreed-upon discovery
               requests, from at least within the time frame of
               December 1998 through August 2015.  You also
               made numerous instructions not to answer on
               the basis of privilege during Mr. Dow’s
               deposition, which precluded us from probing
               the bases for his analysis and statements that
               Janssen holds out as “authoritative.”  We also
               understand from our past correspondence that
               Janssen is unwilling to provide more
               information about its privilege claims or the
               documents it is withholding by way of a
               privilege log. 
                
               We assume based on our previous exchanges
               regarding the waiver issues that Janssen will
               oppose Defendants’ motion, but please let us
               know by Monday morning if that is not the case
               or if there is anything you would like to discuss.
                
               Regards,
               Liz
                
                
               Elizabeth Cutri
               -----------------------------------------------------
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Case 1:17-cv-11008-MLW Document 33-1 Filed 08/21/17 Page 31 of 37


               -----------------------------------------------------
               elizabeth.cutri@kirkland.com
                
                
                
               The information contained in this communication is
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